              Case 2:11-cr-00190-KJM Document 231 Filed 01/28/15 Page 1 of 2



 1 LAW OFFICES OF CHRIS COSCA
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 3 (916) 440-1010
 4 Attorney for Defendant
   JUSTIN NONOGUCHI
 5
 6
 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-00190 MCE
11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                         CONTINUE SENTENCING
12   v.
13   JUSTIN NONOGUCHI,
14                                 Defendant.
15
16                                              STIPULATION
17           Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
19
             1.     The Court previously set this matter for Judgment and Sentencing on January 29,
20
     2015.
21
22           2.     By this stipulation, the parties now move to continue Judgment and Sentencing to

23 February 5, 2015. The reason for this request is that defense counsel has a family funeral to attend.
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     USA v. NONOGUCHI, 2:11-cr-00190 Stip and Order to Continue
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             Case 2:11-cr-00190-KJM Document 231 Filed 01/28/15 Page 2 of 2



 1
     IT IS SO STIPULATED.
 2
 3
     DATED:       January 26, 2015   /s/ Chris Cosca for___________________
 4                                   JASON HITT
                                     Assistant United States Attorney
 5
 6 DATED:         January 26, 2015   /s/ Chris Cosca _______________________
                                     CHRIS COSCA
 7                                   Counsel for Defendant Justin Nonoguchi

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 9
                                            ORDER
10
11         IT IS SO ORDERED.

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     Dated: January 27, 2015
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     USA v. NONOGUCHI, 2:11-cr-00190 Stip and Order to Continue
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